              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:09-cr-00047-MR-DLH


UNITED STATES OF AMERICA,        )
                                 )
     vs.                         )                         ORDER
                                 )
CHRISTOPHER RICHARD DIGHTON. )
________________________________ )

     THIS MATTER is before the Court pursuant to 18 United States Code

§ 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

     The Probation Office has submitted a supplement to the Defendant’s

Presentence Report (“PSR”) in this matter. [Doc. 99]. Based thereon, the

Court determines that the United States Attorney and the Federal

Defenders of WNC, Inc., should provide the Court with their respective

positions regarding the PSR supplement.

     IT IS, THEREFORE, ORDERED that no later than thirty (30) days

from the entry of this Order, the United States Attorney and the Federal

Defenders of WNC, Inc., shall file pleadings responsive to the Probation

Officer’s PSR supplement filed in this matter.

     IT IS SO ORDERED.
                                  Signed: March 20, 2015




      Case 1:09-cr-00047-MR   Document 100       Filed 03/20/15   Page 1 of 1
